                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

                Plaintiff,

                vs.                                      No.1:18-cv-8865-AJN-GWG

ELON MUSK

                Defendant.


            JOINT SUBMISSION REGARDING STATUS OF EFFORTS
                TO RESOLVE THE SEC'S PENDING MOTION

        Pursuant to this Court's Apri14, 2019 Order, counsel for Plaintiff United States

 Securities and Exchange Commission ("SEC") and Defendant Elon Musk provide this

 submission to inform the Court of our efforts to reach an agreement to resolve the SEC's

 pending motion and modify the consentjudgment previously entered by the Court.

 While we have not reached an agreement, counsel for the SEC, Mr. Musk, and counsel

for Tesla met and conferred for over an hour by telephone earlier this week and are

continuing to discuss potential resolution. Because our discussions are ongoing, we

respectfiilly request to provide the Court with another joint submission on or before April

25, 2019, indicating whether we have reached an agreement in principle.

Dated: April 18, ?019                                Respectfully submitted,


   ~         ~        _.~
Chery rumpton
                                                     ~i,~~~~/
                                                     Elon Musk
100 F Street, N.E.
Washington, D.C. 20549
202-551-4459
crumptonc@sec.gov

Counselfor the SEC
